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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 27, 2020:


        MINUTE entry before the Honorable Gary Feinerman:Plaintiff's motion to seal
[136] is granted. Plaintiff may file under seal Exhibits A and B of their motion to compel,
so long as they publicly file a redacted version of those documents. Plaintiff's motion to
compel [132] is entered and continued. Defendants shall respond to Plaintiff's 5/20/2020
and 5/23/2020 emails (Dkt. 132−3 at 2−4) by 5:00 pm Central Time on 5/28/2020.
Defendants shall respond to Plaintiff's motion to compel [132] by 6/4/2020; Plaintiff shall
reply by 6/8/2020. Motion hearings set for 7/15/2020 [135] and [137] are stricken.Mailed
notice.(jlj, )




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